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                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS


                         )
UNITED STATES OF AMERICA )
                         )
     v.                  )                            Case No. 1:20-cr-10111-RWZ
                         )
CHARLES LIEBER           )
                         )
     Defendant.          )
                         )

          ASSENTED-TO MOTION TO CONTINUE STATUS CONFERENCE
         AND FOR EXCLUSION OF TIME UNDER THE SPEEDY TRIAL ACT

       The United States of America, through the undersigned Assistant U.S. Attorneys,

respectfully moves this Court, with the assent of the defendant, to (i) continue the status conference

currently scheduled for Tuesday, December 15, 2020 for approximately 45 days to allow sufficient

time to complete certain pretrial discovery-related matters; and (ii) exclude the period through and

including the new status conference date from the time within which the trial must commence

under the Speedy Trial Act pursuant to 18 U.S.C. §§ 3161(h)(7)(A), and Local Rule 112.2. A

proposed order of excludable delay is attached hereto. In further support of this motion, the

Government states as follows.

       The defendant has been charged by Superseding Indictment with making false statements,

making and subscribing false tax returns, and failing to file reports of foreign bank and financial

accounts. He was arraigned on July 30, 2020 and pleaded not guilty. The most recent status

conference was held on October 16, 2020, during which the Court scheduled an interim status

conference on November 16, 2020. The government thereafter filed an assented-to motion to

continue the November 16 status conference in order to allow additional time for certain pre-trial

discovery matters. See ECF No. 83. The Court granted the motion by minute order and set a new

status conference date of December 15, 2020. See ECF No. 84.
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       Pretrial discovery-related matters remain nearly, but not entirely, complete. Since the last

continuance, Harvard University—the defendant’s employer at all times relevant to this case—

substantially completed its production of documents to the government. The government understands

that the defendant has invoked a claim of attorney-client privilege as to some of the documents

produced by Harvard. An independent AUSA not otherwise participating in this matter has

reviewed the documents over which the defendant has invoked privilege, and the government

understands that the independent AUSA will soon be filing a motion seeking judicial review

concerning the defendant’s claim. Consequently, additional time is still needed to accommodate the

anticipated litigation regarding whether the defendant has a legitimate basis to assert attorney-client

privilege over the challenged documents. Accordingly, with the defendant’s assent and agreement,

the government respectfully moves the Court to continue the status conference scheduled for

December 15, 2020, for approximately 45 days.

       In addition, and also with the assent of the defendant, the government asks the Court to enter

an order excluding from the speedy trial computation the period from November 16, 2020 through

and including the new status conference date.1 This period constitutes “the reasonable time necessary

for effective preparation, taking into account the exercise of due diligence,” and the ends of justice

served by granting the requested continuance outweigh the best interests of the public and the

defendant in a speedy trial pursuant to the Speedy Trial Act, 18 U.S.C. §§ 3161(h)(7)(A) and

3161(h)(7)(B)(iv).



       1
              The government’s motion to continue the November 16, 2020 interim status
conference included an assented-to request to enter an order excluding the period from
November 16, 2020 through and including the new status conference date (ultimately December
15, 2020) from the time within which trial must commence under the Speedy Trial Act. See
ECF. No. 83. The Court entered a minute order granting the motion to continue, but a separate
order concerning the Speedy Trial Act exclusion was not entered at that time.

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       A proposed order is attached.

                                             Respectfully submitted,

                                             ANDREW E. LELLING
                                             United States Attorney

                                       By:   /s/ James R. Drabick
                                             JAMES R. DRABICK
                                             JASON A. CASEY

                                             Assistant United States Attorneys




                                 CERTIFICATE OF SERVICE

        I hereby certify that this document was filed on December 14, 2020, through the ECF
system, which will provide electronic notice to counsel as identified on the notice of Electronic
Filing.

                                             /s/ James R. Drabick
                                             JAMES R. DRABICK
                                             Assistant United States Attorney




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